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 2

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 8
     Attorneys of Record for Plaintiff,
     Bryan Estrada
 9

10                          UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
     Bryan Estrada,                                 Case No. 5:21-cv-1513
13

14
                      Plaintiff,                    COMPLAINT
15

16                    v.
17
     David Petroza; Om Sai Hospitality, Inc. and
18
     Does 1-10, inclusive,
19

20             Defendants.
21

22         Plaintiff, Bryan Estrada, hereby complains and alleges as follows:
23

24                                 NATURE OF THE ACTION
25                1. This is an action seeking to remedy unlawful discrimination by
26

27

28                                          -1-
                                          COMPLAINT
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 1
     the Defendants against the Plaintiff in the Defendants’ places of public

 2   accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
 3   12101, et seq.] (the “ADA”).
 4

 5                                        PARTIES
 6                2. Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
 7
     California who requires the use of a wheelchair for mobility purposes and who is
 8
     therefore a “person with a disability” within the meaning of the ADA and
 9
     Cal.Government Code § 12926.
10
                  3. The Defendants (defined below) discriminates against
11
     People with mobility disabilities in the full and equal enjoyment of the goods,
12
     services, facilities, privileges, advantages, or accommodations on the basis of their
13

14
     mobility disability at the Subject Property (defined below) in violation of the ADA

15   [42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
16                4. The Defendant’s failure to make reasonable modifications in
17   policies, practices, or procedures when such modifications are necessary to afford
18   goods, services, facilities, privileges, advantages, or accommodations to
19   individuals with disabilities prevented people with mobility disabilities from
20   enjoying fair and equal access to the Subject Property (defined below) in violation
21
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
22
                  5. Defendant, David Petroza, owns, operates, or leases real property
23
     located at 1217 E Holt Blvd., Ontario, CA 91761, also known as San Bernardino
24
     County Assessor’s Parcel No. 0110-061-21(the “Subject Property”).
25
                  6. Defendant, Om Sai Hospitality, Inc., owns, operates, or leases
26
     the Subject Property.
27

28                                           -2-
                                           COMPLAINT
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 1
                   7. The Subject Property is a commercial facility open to the general

 2   public, is a public accommodation, and is a business establishment insofar as
 3   goods and/or services are made available to the general public thereat. Defendant
 4   Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
 5   names and capacities are unknown to the Plaintiff. When their true names and
 6   capacities are ascertained, Plaintiff will amend this complaint by inserting their
 7
     true names and capacities herein. Plaintiff is informed and believes and thereon
 8
     alleges that each of the fictitiously named Defendants are responsible in some
 9
     manner for the occurrences herein alleged, and that the harm to Plaintiff herein
10
     alleged were proximately caused by those Defendants.
11

12
                                JURISDICTION AND VENUE
13

14
                   8. This Court has jurisdiction over the subject matter of this action

15   pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
16   of the ADA.
17                 9. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
18   based on the fact that the real property that is the subject of this action is located in
19   this district and the Plaintiff’s causes of action arose in this district.
20

21
                                   STATEMENT OF FACTS
22
                   10. Parking spaces, accessible aisles, paths of travel, signage,
23
     doorways, service counters, customer areas and goods/services are among the
24
     facilities, privileges and advantages offered by the Defendants to patrons of the
25
     Subject Property.
26
                   11. The Subject Property does not comply with the minimum
27

28                                             -3-
                                             COMPLAINT
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 1
     requirements of the ADA and is therefore not equally accessible to persons with

 2   mobility disabilities.
 3                12. In July, 2021 and continuously from that time to the
 4   Present, and currently, the Subject Property has not been in compliance with the
 5   ADA (the “Barriers”):
 6                       A.    Accessible paths of travel serving the Subject Property
 7
     contain changes in level greater than ½ inch (13mm) with no compliant curb cuts
 8
     or curb ramps.
 9
                         B.    There were no accessible paths of travel from public
10
     transportations stops, accessible parking, public streets and sidewalks to the
11
     building entrances serving the Subject Property.
12
                         C.    The exterior service counter/window serving the Subject
13

14
     Property are not within an operable reach range.

15                       D.    The accessible route of travel that crosses or adjoins the
16   vehicular way and the walking surface is not separated by curbs, railings, or other
17   elements between the pedestrian areas and vehicular areas.
18                       E.    The blue-striped parking access aisle is not located on an
19   accessible route of travel to the accessible building entrance.
20                       F.    The running slope (long dimension) of the accessible
21
     parking stall exceeds 2%. The running slope in an accessible parking stall and the
22
     access aisle must not exceed 2%.
23
                  13. Plaintiff personally encountered one or more of the Barriers
24
     at the Subject Property in July, 2021, including a lack of accessible path of travel
25
     from the public right of way, changes in level along the path of travel to the office
26
     with no ADA compliant vertical treatment, an exterior customer service window
27

28                                           -4-
                                           COMPLAINT
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 1
     that is too high, and a lack of ADA compliant accessible parking, blue striped

 2   access aisles and signage. The barriers were located on the Subject Property at the
 3   approach to the office and in the parking areas.
 4                14. The Subject Property is in an area Plaintiff frequents regularly for
 5   personal reasons. Recently, Plaintiff was in the area of the Subject Property in
 6   May and August, 2021 for personal reasons. On information and belief, there are
 7
     other barriers affecting Plaintiff’s disability at the Subject Property, and it is
 8
     Plaintiff’s intention to have the Subject Property inspected, to enforce that all
 9
     barriers related to Plaintiff’s disability are removed, and to return to the Subject
10
     Property to confirm the work has been done. Until the barriers have been
11
     removed, Plaintiff is deterred from attempting to use the Subject Property. The
12
     Subject Property is in an area Plaintiff frequents, and Plaintiff will return to the
13

14
     Subject Property multiple times within the next twelve months for the purpose of

15   observing and confirming whether the barriers have been removed
16                15. Between July, 2021 and the present, the Plaintiff had personal
17   knowledge of the existence of Barriers at the Subject Property. The barriers
18   effected Plaintiff with respect to his mobility disability because he was unable to
19   access the office primary entry door due to untreated changes in level (steps) and
20   because the exterior service counter / window was too high for Plaintiff to reach.
21
                  16. The existence of Barriers, the implementation of discriminatory
22
     policies, practices and procedures, and other ADA violations at the Subject
23
     Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
24
     Property on a particular occasion between July, 2021 and the present.
25
                  17. On information and belief, the remediation of violations
26

27

28                                             -5-
                                             COMPLAINT
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 1
     Identified hereinabove, to be identified by the Defendants in discovery, and to be

 2   discovered by Plaintiff’s experts are all readily achievable in that the removal of
 3   them by the Defendants is and has been easily accomplishable without much
 4   difficulty or expense.
 5                18. Defendants violated the ADA by failing to remove all mobility-
 6   related architectural barriers at the Subject Property. On information and belief,
 7
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
 8
     intentional because the barriers described herein are clearly visible and tend to be
 9
     obvious even to a casual observer and because the Defendants operate the Subject
10
     Property and have control over conditions thereat and as such they have, and have
11
     had, the means and ability to make the necessary remediation of access barriers if
12
     they had ever so intended.
13

14
                  19. On information and belief, access barriers at the Subject

15   Property are being consciously ignored by the Defendants; the Defendants have
16   knowingly disregarded the ongoing duty to remove the Barriers in compliance with
17   the ADA. Plaintiff further alleges on information and belief that there are other
18   ADA violations and unlawful architectural barriers at the Subject Property that
19   relate to Plaintiff’s mobility disability that will be determined in discovery, the
20   remediation of which is required under the ADA.
21
                  20. Plaintiff hereby seeks to remediate and remove all barriers
22
     related to his mobility disability, whether presently known or unknown and intends
23
     to return to the Subject Property to observe and confirm whether access barriers
24
     have been removed.
25
                  21. Even if strictly compliant barrier removal were determined to
26

27

28                                            -6-
                                            COMPLAINT
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 1
     be structurally or otherwise impracticable, there are many alternative methods of

 2   providing accommodations that are readily apparent and that could provide a
 3   greater degree of accessibility to the Plaintiff and similarly situated persons but for
 4   the Defendants’ discriminatory policies, practices and procedures and Defendants’
 5   conscious indifference to their legal obligations and to the rights of persons with
 6   mobility disabilities. Defendants’ failure to implement reasonable available
 7
     alternative methods of providing access violates the ADA [42 U.S.C. §
 8
     12182(b)(2)(A)(v)].
 9
                  22. The violations and references to code sections herein are not
10
     all-inclusive. Plaintiff will amend this complaint to provide a complete description
11
     of the full scope of ADA violations after conducting a comprehensive expert site
12
     inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
13

14
     that the barriers alleged herein violate one or more of the ADA’s implementing

15   regulations. The Defendants have maintained and continue to maintain
16   discriminatory policies, procedures and practices that disregard their obligations
17   under the ADA by allocating resources for physical improvements to the Subject
18   Property that were did not provide legally required accessibility improvements, by
19   failing to conduct ADA self-inspections or create ADA compliance plans
20   regarding the Subject Property, by causing alterations to be made to the Subject
21
     Property in disregard of ADA requirements, and for failing and refusing to make
22
     necessary accommodations for persons with mobility disabilities at the Subject
23
     Property. Plaintiff seeks a declaration that the Defendants’ disability rights
24
     compliance policies, procedures and practices are discriminatory and violate the
25
     ADA.
26

27

28                                           -7-
                                           COMPLAINT
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 1
                               FIRST CAUSE OF ACTION
                              Discrimination Based on Disability
 2                               [42 U.S.C. §§ 12101, et seq.]
 3                            By Plaintiff against all Defendants
 4

 5
                  23. Plaintiff re-alleges and incorporates by reference as though

 6   fully set forth herein the allegations contained in all prior paragraphs of this
 7   complaint.
 8                24. The ADA obligates owners, operators, lessees and lessors of
 9   public accommodations to ensure that the privileges, advantages, accommodations,
10   facilities, goods and services are offered fully and equally to persons with
11   disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
12
     12182(a)].
13
                  25. Discrimination is defined in the ADA, inter alia, as follows:
14
                         A.     A failure to remove architectural barriers where such
15
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
16
     barriers are identified and described in the Americans with Disabilities Act
17
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
18

19
                         B.     A failure to make alterations in such a manner that, to the
20   maximum extent feasible, the altered portions of the facility are readily accessible
21   to and usable by individuals with disabilities, including individuals who use
22   wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
23   the altered area and the bathrooms, telephones, and drinking fountains serving the
24   altered area, are readily accessible to and usable by individuals with disabilities [42
25
     U.S.C. § 12183(a)(2)].
26
                         C.     Where an entity can demonstrate that the removal of a
27
      barrier is not readily achievable, a failure to make such goods, services, facilities,
28                                            -8-
                                            COMPLAINT
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 1
     privileges, advantages, or accommodations available through alternative methods

 2   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
 3                      D.    A failure to make reasonable modifications in
 4   policies, practices, or procedures, when such modifications are necessary to afford
 5   such goods, services, facilities, privileges, advantages, or accommodations to
 6   individuals with disabilities, unless the entity can demonstrate that making such
 7
     modifications would fundamentally alter the nature of such goods, services,
 8
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
 9
     12182(b)(2)(A)(ii)].
10
                 26. The ADA, the ADAAG’s 1991 Standards (the “1991
11
     Standards”) and 2010 Standards (the “2010 Standards”), and the California
12
     Building Code (the “CBC”) contain minimum standards that constitute legal
13

14
     requirements regarding wheelchair accessibility at places of public

15   accommodation:
16                      A.    Changes in levels along an accessible route greater
17   than 1/2 in (13 mm) require the provision of a curb ramp, ramp, elevator, or
18   platform lift [1991 Standards § 4.3.8; 2010 Standards §§ 303.4, 405, and
19   406].
20                      B.    At least one accessible route must be provided from
21   public transportation stops, accessible parking, and accessible passenger
22   loading zones, and public streets or sidewalks to the accessible building
23   entrance they serve. The accessible route must, to the maximum extent
24   feasible, coincide with the route for the general public, must connect
25   accessible buildings, facilities, elements, and spaces that are on the same
26
     site, and at least one accessible route must connect accessible building or
27
     facility entrances with all accessible spaces and elements and with all
28                                          -9-
                                          COMPLAINT
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  1
      accessible dwelling units within the building or facility [1991 Standards

  2
      §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
  3                       C.     In public accommodations where counters have cash
  4   registers or are provided for sales or distribution of goods or services to the public,
  5   at least one of each type of counter must have a portion that is at least 36 in
  6   (915mm) in length with a maximum height of 36 in (915 mm) above the finished
  7   floor. The checkout counter surface height can be no more than 38 inches
  8   maximum above the finished floor or ground. The top of the counter edge
  9
      protection can be up to 2 inches above the top of the counter surface on the
 10
      aisle side of the checkout counter. Clear floor space that allows a forward
 11
      or parallel approach by a person using a wheelchair must be provided at
 12
      controls, dispensers, receptacles and other operable equipment [1991
 13
      Standards §§ 7.1(1), 7.2, 4.27.2; 2010 Standards §§ 309.2, 902.3, 904.3.2 and
 14
      904.3.3].
 15
                          D.     If a walk crosses or adjoins a vehicular way, and
 16
      the walking surfaces are not separated by curbs, railings, or other elements
 17
      between the pedestrian areas and vehicular areas, the boundary between
 18

 19
      the areas shall be defined by a continuous detectable warning which is 36

 20   in (915 mm) wide [1991 ADAAG Section 4.29.5].
 21                       E.     Parking spaces complying with 502 that serve a
 22   particular building or facility shall be located on the shortest accessible
 23   route from parking to an entrance complying with 206.4 [2010 ADAS
 24   Section 208.3.1].
 25                       F.     Parking spaces and access aisles serving them
 26

 27

 28                                            -10-
                                             COMPLAINT
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  1
      shall comply with 302. Access aisles shall be at the same level as the

  2
      parking spaces they serve. Changes in level are not permitted [2010 ADAS
  3   Section 502.4].
  4               27.   The Defendants have failed to comply with minimum
  5   ADA standards and have discriminated against persons with mobility
  6   disabilities on the basis of thereof. Each of the barriers and accessibility
  7   violations set forth above is readily achievable to remove, is the result of an
  8   alteration that was completed without meeting minimum ADA standards,
  9   or could be easily remediated by implementation of one or more available
 10   alternative accommodations. Accordingly, the Defendants have violated the
 11   ADA.
 12               28.   The Defendants are obligated to maintain in operable
 13   working condition those features of the Subject Property’s facilities and
 14
      equipment that are required to be readily accessible to and usable by
 15
      Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
 16
      36.211(a)]. The Defendants failure to ensure that accessible facilities at the
 17
      Subject Property were available and ready to be used by the Plaintiff
 18
      violates the ADA.
 19
                  29.   The Defendants have a duty to remove architectural
 20
      barriers where readily achievable, to make alterations that are consistent
 21
      with minimum ADA standards and to provide alternative accommodations
 22
      where necessary to provide wheelchair access. The Defendants benign
 23
      neglect of these duties, together with their general apathy and indifference
 24
      towards persons with disabilities, violates the ADA.
 25

 26
                  30.   The Defendants have an obligation to maintain policies,

 27
      practices and procedures that do not discriminate against the Plaintiff and

 28                                        -11-
                                         COMPLAINT
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  1
      similarly situated persons with mobility disabilities on the basis of their

  2   disabilities. The Defendants have maintained and continue to maintain a policy of
  3   disregarding their obligations under the ADA, of allocating resources for
  4   improvements insufficient to satisfy legal requirements regarding accessibility
  5   improvements, of failing to conduct ADA self-inspections or create ADA
  6   compliance plans, of causing alterations to be made to the Subject Property in
  7   disregard of ADA requirements, and of failing and refusing to make necessary
  8
      accommodations for persons with mobility disabilities at the Subject Property, in
  9
      violation of the ADA.
 10
                   31.   The Defendants wrongful conduct is continuing in that
 11
      Defendants continue to deny full, fair and equal access to their business
 12
      establishment and full, fair and equal accommodations, advantages,
 13
      facilities, privileges and services to Plaintiff as a disabled person due to
 14
      Plaintiff’s disability. The foregoing conduct constitutes unlawful
 15
      discrimination against the Plaintiff and other mobility disabled persons
 16
      who, like the Plaintiff, will benefit from an order that the Defendants
 17
      remove barriers and improve access by complying with minimum ADA
 18

 19
      standards.

 20

 21   ///
 22

 23

 24   ///
 25

 26

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      ///
 28                                          -12-
                                           COMPLAINT
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  1
                                PRAYER FOR RELIEF

  2
            Plaintiff prays to this Court for injunctive, declaratory and all other
  3   appropriate relief under the ADA , including but not limited to reasonable
  4   attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
  5   12205.
  6         Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
            not seek injunctive relief under the Unruh Act or Disabled Persons
  7
            Act at all by way of this action.
  8
      Respectfully submitted,
  9

 10   Dated: 09/06/2021             LAW OFFICES OF ROSS CORNELL, APC
 11

 12                                 By: /s/ Ross Cornell
 13                                     Ross Cornell, Esq.,
                                        Attorneys for Plaintiff,
 14
                                        Bryan Estrada
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 28                                        -13-
                                         COMPLAINT
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